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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

UNITED STATES OF AMERICA                   )
                                           )
       v                                   )       Criminal No. 2:19-cr-149-JDL
                                           )
NATHANIEL RIVERA                           )



                    GOVERNMENT’S VERSION OF THE OFFENSE

       Had the case proceeded to trial, the Government would produce evidence that would

establish beyond a reasonable doubt that from approximately May 10 and May 11, 2019, this

defendant conspired with other persons in a scheme to rob an individual (hereinafter “Victim”)

who was engaged in the business of distributing marijuana.

       The evidence would include electronic location evidence, text messages, eyewitness

testimony and testimony from law enforcement personnel. The evidence would establish the

following facts:

       Victim was familiar with this defendant through his marijuana distribution business.
On May 10, 2019, defendant called Victim and told Victim he was with two girls who
wanted to come over and party. Defendant and two females later showed up at Victim’s
residence. All four individuals consumed alcohol and socialized at Victim’s.
       Prior to going to Victim’s house, defendant and other conspirators had made a plan
in which defendant and the girls would act as a ruse to get access into Victim’s house and
then unlock the door to allow the other conspirators to enter the house and rob the victim of
drugs and drug proceeds. Defendant, the girls, and the co-conspirators travelled from
Massachusetts to York, Maine on the evening of May 10, 2019.
       As planned, defendant at one point unlocked an entry door to Victim’s residence.
Defendant then texted the co-conspirators who were waiting outside the residence that the
door was unlocked. The co-conspirators soon thereafter entered the house through that door


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each carrying a firearm. The co-conspirators attempted to rob the victim but he resisted.
Both co-conspirators discharged their weapons inside the house. Victim was able to flee the
house and escape by running down the driveway. The defendant and the two females left in
the vehicle in which they arrived. The armed co-conspirators stole the victim’s truck and
fled.



Dated February 14, 2020                    Halsey B. Frank
                                           United States Attorney


                                           /s/Daniel J. Perry
                                           Daniel J. Perry
                                           Assistant United States Attorney
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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

                                CERTIFICATE OF SERVICE

       I hereby certify that on February 14, 2020, I emailed the foregoing Government’s
Version of the Offense to:

       Amy Fairfield, Esq.

                                           Halsey B. Frank
                                           United States Attorney


                                           /s/Daniel J. Perry
                                           Assistant United States Attorney




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